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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                            )
PETER P. STRZOK,                            )
                                            )
                Plaintiff,                  )
                                           )    Civil Action No. 19-2367 (ABJ)
        v.                                  )
                                            )
ATTORNEY GENERAL MERRICK B.                 )
GARLAND, in his official capacity, et al.,  )
                                            )
                Defendants.                 )
                                            )
                                            )
                                            )
LISA PAGE,                                  )
                                            )
                Plaintiff,                  )
                                            )   Civil Action No. 19-3675 (TSC)
        v.                                  )
                                            )
U.S. DEPARTMENT OF JUSTICE, et al.,         )
                                            )
                Defendants.                 )
                                            )
                                           )
                                           )
ATTORNEY GENERAL MERRICK                   )
GARLAND, in his official capacity, UNITED  )
STATES DEPARTMENT OF JUSTICE, FBI          )
DIRECTOR CHRISTOPHER A. WRAY, in his )
official capacity, FEDERAL BUREAU OF       )
INVESTIGATION,                             )
                                           )
                            Movants,       )
                        v.                 )      Case No.: 1:22-mc-27 (ABJ)
                                           )
PETER P. STRZOK                            )
                                           )
IN RE SUBPOENA SERVED ON                   )
DONALD J. TRUMP                            )
                                           )
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  DECLARATION OF CHRISTOPHER M. LYNCH IN SUPPORT OF DEFENDANTS’
  SUPPLEMENTAL FILING IN SUPPORT OF MOTIONS TO QUASH SUBPOENAS
                   AND FOR PROTECTIVE ORDER

       I, Christopher M. Lynch, make the following Declaration pursuant to 28 U.S.C. § 1746,

and state that under penalty of perjury the following is true and correct to the best of my

knowledge and belief:

       1.      I am a Trial Attorney with the Federal Programs Branch of the Civil Division of

the United States Department of Justice and counsel for Defendants in this matter.

       2.      Attached as Exhibit A is a true and correct copy of Exhibit 5 to the Deposition of

David Bowdich, redacted to remove Mr. Strzok’s address.

       3.      Attached as Exhibit B is a true and correct copy of Exhibit 53 to the deposition of

David Bowdich, redacted to remove certain personal information of non-government individuals.

       Executed this 29th day of September, 2022.


                                                                      /s/ Christopher M. Lynch
                                                                       Christopher M. Lynch
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                       Exhibit A
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      CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER, ECF No. 58
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                       Exhibit B
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